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                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   UNITED STATES OF AMERICA,                             CASE NO. CR13-0238-JCC
10                            Plaintiff,                   ORDER
11          v.

12   ROSA GRANADOS,

13                            Defendant.
14

15          This matter comes before the Court on the Government’s request for leave to dismiss
16   charges (Dkt. No. 79). The Government seeks leave to dismiss all pending charges in this matter
17   against Defendant Rosa Granados. (Id.) Pursuant to Federal Rule of Criminal Procedure 48(a),
18   the Court GRANTS the Government leave to dismiss all pending charges in this matter against
19   Defendant Rosa Granados without prejudice. The Court further ORDERS that the outstanding
20   warrant for Defendant Rosa Granados be quashed.
21          DATED this 2nd day of January 2019.




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                                                        John C. Coughenour
25                                                      UNITED STATES DISTRICT JUDGE
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     ORDER
     CR13-0238-JCC
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